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              Exhibit A
                            Case 5:21-cv-09904-NC Document 1-2 Filed 12/21/21 Page 2 of 31
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
                                                                                                              E-FILED
NOTICE TO DEFENDANT:                                                                                          8/24/2021 11:39 AM
(AV/SO AL DEMANDADO):
RANDSTAD US LLC., a Delaware Corporation
                                                                                                              Clerk of Court
                                                                                                              Superior Court of CA,
YOU ARE BEING SUED BY PLAINTIFF:                                                                              County of Santa Clara
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                           21CV387665
                                                                                                              Reviewed By: R. Tien
JOSHUA HARRELL, individually, and on behalf of themself and others similarly situated
                                                                                                              Envelope: 7125128
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
;AV/SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
continuaci6n.
   Tiene 30 DIAS DE CALENDARJO despues de que le entreguen esta citaci6n y pape/es legales para presentar una respuesta par escrito en esta
carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de /eyes de su condado o en la carte qua le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte que
le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la corte le podre
quitar su sue/do, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede Jlamar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener servicios legates gratuitos de un
programa de servicios legales sin fines de /ucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ooniendose en contacto con la carte o el
colegio de abogados locales. AV/SO: Parley, la carte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Numero def Caso):
(El nombre y direcci6n de la corle es):
191 N. First Street                                                                                                 21CV387665
San Jose, CA 95113
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de te/efono def abogado def demandante, o def demandante que no tiene abogado, es):
Grainne Callan, 1030 E. El Camino Real #374, Sunnyvale, CA 94087 408-982-6224
DATE:                                                                         Clerk, by                                                            , Deputy
(Fecha) 8/24/2021 11:39 AM                           Clerk of Court           (Secretario)  R. Tien                                                (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010).)
  ISEALJ
                                  NOTICE TO THE PERSON SERVED: You are served
                                     1.   D      as an individual defendant.
                                     2.   D      as the person sued under the fictitious name of (specify):

                                     3.   D      on behalf of (specify):

                                          under:   D    CCP 416.10 (corporation)                           D      CCP 416.60 (minor)
                                                   D    CCP 416.20 (defunct corporation)                   D      CCP 416.70 (conservatee)
                                                   D    CCP 416.40 (association or partnership)            D      CCP 416.90 (authorized person)
                                                   D    other (specify):
                                     4.   D      by personal delivery on (date)
                                                                                                                                                      Pane 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
              Case 5:21-cv-09904-NC Document 1-2 Filed 12/21/21 Page 3 of 31

                                                                              E-FILED
                                                                              8/24/2021 11:39 AM
                                                                              Clerk of Court
 1   Grainne Callan (SBN 318962)                                              Superior Court of CA,
     1030 E. El Camino Real #374                                              County of Santa Clara
 2   Sunnyvale, CA 94087                                                      21CV387665
     408-982-6224                                                             Reviewed By: R. Tien
 3

 4   Attorney For Plaintiff, Joshua Harrell

 5

 6

 7

 8                    SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                                COUNTY OF SANTA CLARA
 9                              UNLIMITED JURISDICTION
10                                                     Case No.: 21CV387665
     JOSHUA HARRELL, individually, and on
11   behalf of themself and others similarly           COMPLAINT FOR:
     situated, and the general public
12                                                     1. Failure to Produce Wage and Personnel
                    Plaintiff,                            Records (Cal. Labor Code § 1198.5)
13                                                     2. Failure to Produce Wage and Personnel
            vs.                                           Records (Labor Code §§ 226(b), & (f))
14                                                     3. Failure to Furnish Compliant Wage
     RANDSTAD US LLC., a Delaware                         Statements (Cal. Labor Code § 226)
15   Corporation; and DOES 1 through 50,               4. Failure to Pay Overtime Premium Wages
     inclusive,                                           Due (Cal. Labor Code §§ 510 and 1194)
16                                                     5. Failure to Pay Earned Wages (Cal. Lab.
                    Defendants.                           Code §§ 204, 206, 218.5 and 218.6)
17                                                     6. Failure to Provide All Wages Due Upon
                                                          Termination of Employment – Waiting
18                                                        Time Penalties (Cal. Lab. Code § 203)
                                                       7. Retaliation (Cal. Lab. Code § 1102.5)
19                                                     8. Retaliation (Cal. Lab. Code § 6310)
                                                       9. Private Attorney General Act
20
                                                     DEMAND FOR A JURY TRIAL
21

22

23                  COMES NOW, Plaintiff JOSHUA HARRELL (“Mx. Harrell” or “Plaintiff”) to

24   complain and allege against the above-named Defendants as follows:

25                               JURISDICTION, VENUE, AND PARTIES

26   1.     This representative action is brought pursuant to the California Labor Code section

27   2698, et seq. The civil penalties sought by Plaintiff exceed the minimal jurisdiction limits of the

28   Superior Court and will be established according to proof at trial. The “amount in controversy”

     Plaintiff’s Complaint                                                                    -1-
                 Case 5:21-cv-09904-NC Document 1-2 Filed 12/21/21 Page 4 of 31




 1   for the named Plaintiff, including claims for compensatory damages, restitution, penalties,

 2   wages, premium pay, and pro rata share of attorneys’ fees, is less than $75,000.00.

 3   2.         This Court has jurisdiction over this action pursuant to the California Constitution,

 4   Article VI, Section 10, which grants the superior court “original jurisdiction in all other causes”

 5   except those given by statute to other courts. The statutes under which this action is brought do

 6   not specify any other basis for jurisdiction.

 7   3.         This Court has jurisdiction over Defendants because, upon information and belief, each

 8   Defendant is a citizen of California, has sufficient minimum contacts in California, or otherwise
 9   intentionally avails itself of the California market so as to render the exercise of jurisdiction
10   over it by the California courts consistent with traditional notions of fair play and substantial
11   justice.
12   4.         Venue is proper in this Court because, upon information and belief, each Defendant
13   maintains offices, has agents, and/or transacts business in the State of California, including
14   Santa Clara County. The majority of the acts and omissions alleged herein relating to Plaintiff
15   and the other aggrieved employees took place in the State of California, including Santa Clara
16   County.
17   5.         Plaintiff JOSHUA HARRELL is, and at all times relevant hereto was, a competent
18   adult, over the age of 18, residing in Santa Clara County, State of California and at all times
19   alleged was an “aggrieved” employee of Defendants.
20   6.         Plaintiff brings this representative action against Defendant RANDSTAD US LLC, a
21   Delaware Corporation and DOES 1 through 50, inclusive, (collectively referred to as
22   “Defendants”) for alleged violations of the Labor Code.
23   7.         Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant
24   hereto, RANDSTAD US LLC (“RANDSTAD”) was and is a Delaware Corporation with its
25   principal place of business in San Jose, CA. RANDSTAD does business in and maintains an
26   office in San Jose, California.
27   8.         At all times relevant herein, Employers and DOES 1-50 were Plaintiff’s employers,

28   joint employers, and/or special employers within the meaning of the Labor Code and Industrial

     Plaintiff’s Complaint                                                                       -2-
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 1   Welfare Commission Order No. 4-2001 and are each an “employer or other person acting on

 2   behalf of an employer” as such term is used in Labor Code Section 558, and liable to Plaintiff

 3   on that basis.

 4   9.     The acts and omissions giving rise to liability occurred in Santa Clara County,

 5   California.

 6   10.    Plaintiff is ignorant of the true names and capacities of Defendants sued herein as DOES

 7   1-50, inclusive, and therefore sues these Defendants by such fictitious names. Plaintiff will

 8   amend this complaint to allege the true names and capacities of these fictitiously named
 9   Defendants when such information is ascertained.
10   11.    Plaintiff is informed and believes and thereon alleges that each of the fictitiously named
11   Defendants, DOES 1-50, inclusive, is responsible in some manner for the occurrences herein
12   alleged, and that Plaintiff’s damages as herein alleged were proximately caused by the
13   aforementioned Defendants, and each of them.
14   12.    Plaintiff is informed and believes and thereon alleges that, at all times herein mentioned
15   each of the Defendants was the agent and employee of each of the remaining Defendants and, in
16   doing the things hereinafter alleged, was acting within the course and scope of such agency and
17   employment.
18   13.    Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and
19   each of them, including those Defendants named as DOES 1-50, acted in concert with one
20   another to commit the wrongful acts alleged herein, and aided, abetted, incited, compelled,
21   and/or coerced one another in the wrongful acts alleged herein, and/or attempted to do so,
22   including pursuant to Government Code §12940(i). Plaintiff is further informed and believes,
23   and based thereupon alleges, that Defendants, and each of them, including those Defendants
24   names as DOES 1-50, and each of them, formed and executed a conspiracy or common plan
25   pursuant to which they would commit the unlawful acts alleged herein, with all such acts
26   alleged herein done as part of and pursuant to said conspiracy, intend to cause and actually
27   causing Plaintiff harm.

28   14.    Plaintiff is informed and believes and thereon alleges that, at all times herein mentioned

     Plaintiff’s Complaint                                                                  -3-
                Case 5:21-cv-09904-NC Document 1-2 Filed 12/21/21 Page 6 of 31




 1   each defendant herein ratified, authorized, knew about, should have known about, and

 2   condoned the acts of each and every other defendant.

 3   15.       Whenever and wherever reference is made in this complaint to any act or failure to act

 4   by a Defendant or co-Defendant, such allegations and references shall also be deemed to mean

 5   the acts and/or failures to act by each Defendant acting individually, jointly, and severally.

 6   16.       At all times relevant herein, Defendants and DOES 1–50 were Plaintiff’s employers,

 7   joint employers, and/or special employers within the meaning of Government Code §§ 1296,

 8   subdivision (d), 12940, subdivisions (a), (h)(1), (h)(3)(A), and (i), and 12950, and regularly
 9   employ five (5) or more persons and are therefore subject to the jurisdiction of this Court.
10   Defendants exercised control over Plaintiff’s wages, hours, or working conditions.
11                                       STATEMENT OF FACTS
12   17.       Plaintiff was employed by Defendants from March through September 2020.
13   18.       Plaintiff’s rate of pay varied based on each workplace assignment.
14   19.       Plaintiff informed Defendants of illegal and/or unsafe conduct taking place at various
15   work sites.
16   20.       On or about March 19, 2020, Plaintiff informed Defendants they were injured at a
17   worksite and requested gloves to prevent further injury when required to use sharp box cutter
18   knives.
19   21.       Defendants denied Plaintiff’s request and told them “to be extra careful next time.”
20   Plaintiff informed Defendant of its obligation to provide protection. Defendant told Plaintiff to
21   not show up to work.
22   22.       On or about May 8, 2020, Defendants issued Plaintiff and other similarly situated
23   employees two checks. One check had employees paid at an erroneous rate of pay. The second
24   check included a corrected adjusted pay rate. Defendants, however, applied the adjusted rate to
25   all hours worked, without adjusting accordingly for any overtime hours worked.
26   23.       On or about August 28, 2020, Defendants emailed Plaintiff with instructions regarding
27   Covid-19 protocols. The email stated, “If you are uncomfortable with a worksite situation

28   (such as someone not wearing a facial covering or lack of social distancing, etc.), please talk to

     Plaintiff’s Complaint                                                                     -4-
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 1   your direct supervisor and your Randstad representative immediately.”

 2   24.    On September 4, 2020, Plaintiff reported to Defendants unsafe working conditions

 3   regarding unsafe mask-wearing in violation of Government orders at a job site.

 4   25.    Plaintiff was informed their work assignment at this company had ended because they

 5   were concerned about others not wearing masks.

 6   26.    Plaintiff was denied an earned bonus for their performance.

 7   27.    Plaintiff was then assigned to less desirable positions with reduced pay, inconvenient

 8   hours, and further commutes.
 9   28.    Defendant’s paystubs provided to Plaintiff lists its address as “3625 Cumberland Blvd.
10   Atlanta GA 30339.” Defendant’s correct address is 3625 Cumberland Blvd. Suite 600, Atlanta
11   GA 30339. (emphasis added) Defendant failed to provide a complete and accurate address on
12   its wage statements provided to employees.
13   29.    Defendants required Plaintiff to use their cell-phone for work-related matters without
14   reimbursement.
15   30.    Plaintiff’s last day of work was on September 17, 2020. Defendant has failed to provide
16   Plaintiff all wages owed.
17   31.    On November 4, 2020 Defendants received Plaintiff’s request for their personnel
18   records and payroll records. Despite multiple attempts to obtain the records, Defendants did not
19   comply with this request until February 17, 2021.
20                                      PAGA ALLEGATIONS
21   32.    At all times herein set forth, PAGA was applicable to Plaintiff’s employment by
22   Defendants.
23   33.    At all times herein set forth, PAGA provides that any provision of law under the
24   California Labor Code that provides for a civil penalty to be assessed and collected by the
25   LWDA for violations of the California Labor Code may, as an alternative, be recovered through
26   a civil action brought by an aggrieved employee on behalf of herself and other current or former
27   employees pursuant to procedures outlined in California Labor Code section 2699.3.

28   34.    Pursuant to PAGA, a civil action under PAGA may be brought by an “aggrieved

     Plaintiff’s Complaint                                                                  -5-
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 1   employee,” who is any person that was employed by the alleged violator and against whom one

 2   or more of the alleged violations was committed.

 3   35.    Plaintiff was employed by Defendants and the alleged violation was committed against

 4   Plaintiff during Plaintiff’s time of employment and Plaintiff is, therefore, an aggrieved

 5   employee. Plaintiff and the other employees are “aggrieved employees” as defined by

 6   California Labor Code section 2699(c) in that they are all current or former employees of

 7   Defendants, and one or more of the alleged violations were committed against them.

 8   36.    Pursuant to California Labor Code sections 2699.3 and 2699.5, an aggrieved employee,
 9   including Plaintiff, may pursue a civil action arising under PAGA after the following
10   requirements have been met:
11          a. The aggrieved employee shall give written notice by online submission (hereinafter
12              “Employee’s Notice”) to the Labor & Workforce Development Agency (hereinafter
13              “LWDA”) and by U.S. Certified Mail to the employer of the specific provisions of
14              the California Labor Code alleged to have been violated, including the facts and
15              theories to support the alleged violations.
16          b. The LWDA shall provide notice (hereinafter “LWDA Notice”) to the employer and
17              the aggrieved employee by certified mail that it does not intend to investigate the
18              alleged violation within sixty (60) calendar days of the postmark date of the
19              Employee’s Notice. Upon receipt of the LWDA Notice, or if the LWDA Notice is
20              not provided within sixty-five (65) calendar days of the postmark date of the
21              Employee’s Notice, the aggrieved employee may commence a civil action pursuant
22              to California Labor Code section 2699 to recover civil penalties in addition to any
23              other penalties to which the employee may be entitled.
24   37.    On April 5, 2021, Plaintiff provided written notice by online submission to the LWDA
25   and by U.S. Certified Mail to Defendant of the specific provisions of the California Labor Code
26   alleged to have been violated, including the facts and theories to support the alleged violations.
27   Plaintiff has not received an LWDA Notice within 65 calendar days of the date of Plaintiff’s

28   notice. A true and correct copy of the PAGA Notice is attached hereto as “Exhibit 1.”

     Plaintiff’s Complaint                                                                   -6-
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 1   38.    Therefore, Plaintiff has satisfied the administrative prerequisites under California Labor

 2   Code sections 2699.3(a) to recover civil penalties against Defendants, in addition to other

 3   remedies, for violations of California Labor Code sections 201, 202, 203, 204, 226(a), 226.3,

 4   246, 510, 1102.5, 1198.5, 2802, 6401, 6401.7, and 6402.

 5                                     GENERAL ALLEGATIONS

 6   39.    At all relevant times set forth herein, Defendants employed Plaintiff and other aggrieved

 7   hourly-paid or non-exempt employees who worked for any of the Defendants in the State of

 8   California (hereinafter collectively referred to as the “other aggrieved employees”).
 9   40.    Defendants employed Plaintiff as an hourly-paid, non-exempt employee from
10   approximately March through September 17, 2020.
11   41.    Defendants hired Plaintiff and the other aggrieved employees, and failed to compensate
12   them for all hours worked.
13   42.    During Plaintiff’s employment, Defendants required Plaintiff and their co-workers to do
14   work-related activities on their personal cell phones. Defendants did not reimburse Plaintiff or
15   their co-workers for any portion of their personal cell phone bills.
16   43.    During Plaintiff’s employment, Defendants demanded Plaintiff and other aggrieved
17   employees work for free when the supervisors called, and text messaged them while off duty to
18   answer work related questions or to give them work assignments.
19   44.    During Plaintiff’s employment, Defendants required Plaintiff and other aggrieved
20   employees provide their own equipment to work at job sites, including but not limited to safety
21   equipment such as gloves and steel-toed shoes. Defendants did not reimburse Plaintiff or his
22   co-workers for these purchases.
23   45.    Defendants had the authority to hire and terminate Plaintiff and the other aggrieved
24   employees, to set work rules and conditions governing Plaintiff’s and the other aggrieved
25   employees’ employment, and to supervise their daily employment activities.
26   46.    Defendants exercised sufficient authority over the terms and conditions of Plaintiff’s
27   and the other aggrieved employees’ employment for them to be joint employers of Plaintiff and

28   the other aggrieved employees.

     Plaintiff’s Complaint                                                                   -7-
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 1   47.    Defendants directly hired and paid wages and benefits to Plaintiff and the other

 2   aggrieved employees.

 3   48.    Defendants continue to employ hourly-paid or non-exempt employees, within the State

 4   of California.

 5   49.    Plaintiff and the other aggrieved employees worked over eight (8) hours in a day, and/or

 6   forty (40) hours in a week during their employment with Defendants.

 7   50.    Plaintiff is informed and believes, and based thereon alleges, that Defendants engaged in

 8   a uniform policy and systematic scheme of wage abuse against their hourly-paid or non-exempt
 9   employees. This scheme involved, inter alia, failing to pay them for all hours worked in
10   violation of California law.
11   51.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
12   should have known that Plaintiff and the other aggrieved employees were entitled to receive
13   certain wages for overtime compensation and that they were not receiving wages for overtime
14   compensation.
15   52.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
16   should have known that Plaintiff and the other aggrieved employees were entitled to receive at
17   least minimum wages for compensation and that they were not receiving at least minimum
18   wages for all hours worked.
19   53.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
20   should have known that Plaintiff and the other aggrieved employees were entitled to receive all
21   wages owed to them upon discharge or resignation, including overtime and minimum wages
22   and meal and rest period premiums, and they did not, in fact, receive all such wages owed to
23   them at the time of their discharge.
24   54.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
25   should have known that Plaintiff and the other aggrieved employees were entitled to receive all
26   wages owed to them during their employment. Plaintiff and the other aggrieved employees did
27   not receive payment of all wages, including overtime and minimum wages and meal and rest

28   period premiums, within any time permissible under California Labor Code section 204 and

     Plaintiff’s Complaint                                                                  -8-
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 1   204b.

 2   55.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or

 3   should have known that Plaintiff and the other aggrieved employees were entitled to receive

 4   complete and accurate wage statements in accordance with California law, but, in fact, they did

 5   not receive complete and accurate wage statements from Defendants. The deficiencies included,

 6   inter alia, an inaccurate employer address, failure to include the correct hourly rate, and the

 7   failure to include overtime hours worked by Plaintiff and the other aggrieved employees.

 8   56.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
 9   should have known that Defendants had to keep complete and accurate payroll records for
10   Plaintiff and the other aggrieved employees in accordance with California law, but, in fact, did
11   not keep complete and accurate payroll records.
12   57.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
13   should have known that Plaintiff and the other aggrieved employees were entitled to
14   reimbursement for necessary business-related expenses and costs.
15   58.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
16   should have known that they had a duty to compensate Plaintiff and the other aggrieved
17   employees pursuant to California law, and that Defendants had the financial ability to pay such
18   compensation, but willfully, knowingly, and intentionally failed to do so, and falsely
19   represented to Plaintiff and the other aggrieved employees that they were properly denied
20   wages, all in order to increase Defendants’ profits.
21   59.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
22   should have known that they had a duty to provide and use safety devices and safeguards, and
23   adopt and use practices, means, methods, and processes reasonably adequate to render such
24   employment safe and healthful.
25   60.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or
26   should have known that they had a duty to not place Plaintiff and other aggrieved employees
27   into unsafe working environments.

28   61.     Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or

     Plaintiff’s Complaint                                                                  -9-
             Case 5:21-cv-09904-NC Document 1-2 Filed 12/21/21 Page 12 of 31




 1   should have known that they had a duty to not retaliate against Plaintiff and other aggrieved

 2   employees for reporting unsafe working conditions.

 3   62.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or

 4   should have known that they had a duty to provide Plaintiff’s and other aggrieved employees’

 5   their personnel and payroll records in a timely manner.

 6   63.    Plaintiff is informed and believes, and based thereon alleges, that Defendants knew or

 7   should have known that they had a duty to accurately accrue and record earned paid sick leave

 8   hours based on one hour of paid sick leave for every 30 hours worked for Plaintiff and other
 9   aggrieved employees.
10   64.    At all material times set forth herein, Defendants failed to pay overtime wages to
11   Plaintiff and the other aggrieved employees. Plaintiff and the other aggrieved employees were
12   required to work more than eight (8) hours per day and/or forty (40) hours per week without
13   overtime compensation.
14   65.    At all material times set forth herein, Defendants failed to pay Plaintiff and the other
15   aggrieved employees at least minimum wages for all hours worked.
16   66.    At all material times set forth herein, Defendants failed to pay Plaintiff and the other
17   aggrieved employees all wages owed to them upon discharge or resignation.
18   67.    At all material times set forth herein, Defendants failed to pay Plaintiff and the other
19   aggrieved employees’ wages within any time permissible under California law, including, inter
20   alia, California Labor Code section 204.
21   68.    At all material times set forth herein, Defendants failed to provide complete and
22   accurate wage statements to Plaintiff and the other aggrieved employees.
23   69.    At all material times set forth herein, Defendants failed to keep complete and accurate
24   payroll records for Plaintiff and the other aggrieved employees.
25   70.    At all material times set forth herein, Defendants failed to reimburse Plaintiff and the
26   other aggrieved employees for necessary business-related expenses and costs.
27   71.    At all material times set forth herein, Defendants failed to properly compensate Plaintiff

28   and the other aggrieved employees pursuant to California law in order to increase Defendants’

     Plaintiff’s Complaint                                                                 -10-
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 1   profits.

 2   72.        At all material times set forth herein, Defendants failed to provide and use safety

 3   devices and safeguards, and adopt and use practices, means, methods, and processes reasonably

 4   adequate to render such employment safe and healthful.

 5   73.        At all material times set forth herein, when Plaintiff and aggrieved employees were

 6   placed into unsafe working environments, Plaintiff and aggrieved employees would complain

 7   about the unsafe working conditions and then Defendants would terminate Plaintiff’s and

 8   aggrieved employees assignment(s).          Additional retaliation included being placed in less
 9   desirable assignments.
10   74.        At all material times set forth herein, Defendants failed to provide Plaintiff and other
11   aggrieved employees their personnel records and payroll records within a timely manner as per
12   California Labor Code sections 226, 432, and 1198.5.
13   75.        At all material times set forth herein, Defendants rounded down accrued the amount of
14   hours accrued by Plaintiff and other aggrieved employees for paid sick leave.
15   76.        California Labor Code section 218 states that nothing in Article 1 of the Labor Code
16   shall limit the right of any wage claimant to “sue directly . . . for any wages or penalty due to
17   him [or her] under this article.”
18                                 FIRST CAUSE OF ACTION
                        FAILURE TO PRODUCE DOCUMENTS AND RECORDS
19                                   [Cal. Lab. Code § 1198.5]
20                                        (All Defendants)

21              Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

22   herein, to the extent such allegations are not inconsistent with this cause of action.

23   77.        Cal. Lab. Code § 1198.5, provides that employers must permit current and former

24   employees alike to have the right to inspect and receive a copy of the personnel files and

25   records that relate to the employee’s performance, or to any grievance concerning the

26   employee. Employers must comply with this requirement no more than 30 days after a written

27   request is made. If an employer fails to comply, the employer is liable for a penalty of $750.

28   78.        On November 4, 2020, PLAINTIFF requested DEFENDANTS produce the personnel

     Plaintiff’s Complaint                                                                      -11-
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 1   file. DEFENDANTS failed to comply with obligations under Labor Code Section 1198.5 by

 2   refusing to produce a copy or originals for inspection within 30 days of receipt of written

 3   request for same. A true and correct copy of the November 2020, request for inspection or copy

 4   of payroll records is attached hereto as Exhibit 2.

 5   79.    DEFENDANTS provided PLAINTIFF’s records on February 17, 2021, well after the 30

 6   days requirement.

 7   80.    The actions of DEFENDANTS, and each of them, as alleged above, entitles

 8   PLAINTIFF to the statutory penalty of $750.
 9                             SECOND CAUSE OF ACTION
10                   FAILURE TO PRODUCE DOCUMENTS AND RECORDS
                               [Cal. Labor Code §§ 226(b), & (f)]
11                        (By PLAINTIFF Against All DEFENDANTS)

12          Plaintiff incorporates by reference all preceding paragraphs as though fully set forth
13   herein, to the extent such allegations are not inconsistent with this cause of action.
14   81.    Labor Code section 226(b) states, that an employer shall, “afford current and former
15   employees the right to inspect or copy records payroll records pertaining to their employment,
16   upon reasonable request to the employer.” Under this statute – which is entirely separate and
17   distinct from Section 1198.5 – an employer has 21 calendar days from the date of the request to
18   comply.
19   82.    Labor Code section 226(f) states, “[a] failure by an employer to permit a current or
20   former employee to inspect or copy records within the time set forth in subdivision (c) entitles
21   the current or former employee or the Labor Commissioner to recover a seven-hundred-fifty-
22   dollar ($750) penalty from the employer. This $750 penalty for non-compliance is separate
23   from Section 1198.5’s penalty for non-compliance.
24   83.    On November 4, 2020, PLAINTIFF timely requested DEFENDANTS produce wage
25   statements and payroll records pursuant to California Labor Code section 226(b).
26   DEFENDANTS, however, failed to produce or allow inspection of the required records within
27   the 21-day statutory period. A true and correct copy of the November 2020, request for
28   inspection or copy of payroll records is attached hereto as Exhibit 2.

     Plaintiff’s Complaint                                                                    -12-
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 1   84.    DEFENDANTS failed to produce records pertaining to PLAINTIFF’s employment with

 2   DEFENDANTS and to which PLAINTIFF is entitled pursuant to express statutory authority,

 3   specifically Cal. Lab. Code § 226(b) until June 30, 2020, well after the 21-day time frame

 4   specified in Cal. Lab. Code § 226(c).

 5   85.    The actions of DEFENDANTS, and each of them, as alleged above, entitles

 6   PLAINTIFF to the statutory penalty of $750.

 7                              THIRD CAUSE OF ACTION
 8                 FAILURE TO FURNISH COMPLIANT WAGE STATEMENTS
                                  [Cal. Labor Code §§ 226]
 9                        (By PLAINTIFF Against All DEFENDANTS)

10           Plaintiff incorporates by reference all preceding paragraphs as though fully set forth
11   herein, to the extent such allegations are not inconsistent with this cause of action.
12   86.     DEFENDANTS failed to provide PLAINTIFF with timely and accurate wage
13   statements pursuant to Labor Code § 226(a)(1)-(9) by failing to include one or more of the
14   required items of information: gross wages earned (Cal. Lab. Code § 226(a)(1)); total hours
15   worked (Cal. Lab. Code § 226(a)(2)); number of piece rate units earned and all applicable piece
16   rates (Cal. Lab. Code § 226(a)(3)); all deductions made (Cal. Lab. Code § 226(a)(4)); net wages
17   earned (Cal. Lab. Code § 226(a)(5)); the pay periods’ inclusive dates (Cal. Lab. Code §
18   226(a)(6)); the employee’s name and either last four (only) Social Security digits or employee
19   ID number (Cal. Lab. Code § 226(a)(7)); the name and address of the legal entity employing
20   PLAINTIFF (Cal. Lab. Code § 226(a)(8)); all applicable hourly rates in effect during each pay
21   period and the corresponding number of hour worked at each hourly rate (Cal. Lab. Code §
22   226(a)(9)).
23   87.    The actions of DEFENDANTS, and each of them, as alleged above, entitles
24   PLAINTIFF to statutory penalties and civil penalties pursuant to Cal. Lab. Code § 226 and
25   other applicable laws and regulations.
26   88.    The actions of DEFENDANTS, and each of them, as alleged above, entitle PLAINTIFF
27   to recover his costs, including inter alia, filing fees and service of process costs.
28   89.    Pursuant to Cal. Lab. Code § 226, PLAINTIFF requests an award of attorneys’ fees in

     Plaintiff’s Complaint                                                                    -13-
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 1   this action.

 2                                  FOURTH CAUSE OF ACTION
                        FAILURE TO PAY OVERTIME PREMIUM WAGES DUE
 3                                 [Cal. Labor Code §§ 510 and 1194]
 4                            (By PLAINTIFF Against All DEFENDANTS)

 5           Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 6   herein, to the extent such allegations are not inconsistent with this cause of action.

 7   90.     Throughout PLAINTIFF’s employment, DEFENDANTS required PLAINTIFF to work

 8   more than 8 hours in a day and/or more than 40 hours in a week without compensating them at

 9   an overtime pay rate.

10   91.     DEFENDANTS failed and refused to pay PLAINTIFF the overtime compensation

11   required by the Labor Code and other applicable laws and regulations.

12   92.     PLAINTIFF has been deprived of rightfully earned and legally required compensation

13   as a direct and proximate result of DEFENDANTS’ failure and refusal to pay said

14   compensation.      PLAINTIFF is entitled to recover such amounts, plus interest thereon,

15   attorney’s fees and costs.

16   93.     Based on DEFENDANTS’ conduct as alleged herein, DEFENDANTS are liable for

17   civil penalties pursuant to applicable provisions of the Labor Code and other applicable laws

18   and regulations.

19                                    FIFTH CAUSE OF ACTION
                                 FAILURE TO PAY EARNED WAGES
20                            (Cal. Lab. Code §§ 204, 206, 216, 218.5, 218.6)
21                             (By PLAINTIFF Against All DEFENDANTS)

22           Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

23   herein, to the extent such allegations are not inconsistent with this cause of action.

24   94.     DEFENDANTS willfully failed to pay PLAINTIFF accrued wages and other

25   compensation due to PLAINTIFF as required by the Labor Code and other applicable laws and

26   regulations.

27   95.     PLAINTIFF has been deprived of rightfully earned wages as a direct and proximate

28   result of DEFENDANTS’ failure and refusal to pay said compensation. PLAINTIFF is entitled

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 1   to recover such amounts, plus interest thereon, attorney’s fees and costs, and applicable civil

 2   and statutory penalties.

 3                                     SIXTH CAUSE OF ACTION
                                      WAITING TIME PENALTIES
 4                                  [Cal. Labor Code §§ 201 through 203]
 5                              (By PLAINTIFF Against All DEFENDANTS)

 6          Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

 7   herein, to the extent such allegations are not inconsistent with this cause of action.

 8   96.    DEFENDANTS failed and refused to pay PLAINTIFF all the wages earned working for

 9   DEFENDANTS as required by the Labor Code and other applicable laws and regulations.

10   97.    PLAINTIFF has been deprived of rightfully earned wages as a direct and proximate

11   result of DEFENDANTS' failure and refusal to pay said compensation. PLAINTIFF is entitled

12   to recover such amounts, plus interest.

13                          SEVENTH CAUSE OF ACTION
             RETALIATION IN VIOLATION OF LABOR CODE SECTION 1102.5
14                           [Cal. Lab. Code § 1102.5, et seq]
15                                   (All Defendants)

16   98.    Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

17   herein, to the extent such allegations are not inconsistent with this cause of action.

18   99.    Plaintiff engaged in numerous activities protected under California Labor Code section
19   1102.5 including, but not limited to, making complaints of conduct and activity that they
20   reasonably and in good faith believed to be unlawful, as alleged above.
21   100.   Defendant took adverse actions against Plaintiff in retaliation for their complaints of
22   unlawful conduct and activity by intentionally making their job more difficult ostracizing them,
23   refusing to communicate with them, treating them differently than other employees, creating a
24   toxic work environment that resulted in constructive discharge.
25   101.   Defendants’ conduct would seriously affect the work performance of any reasonable
26   employee and did affect Plaintiff’s work performance.
27   102.   Defendants’ conduct would affect the psychological well-being of any reasonable
28   employee and did affect Plaintiff’s psychological well-being.

     Plaintiff’s Complaint                                                                    -15-
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 1   103.   As a direct and proximate result, Plaintiff was harmed. Defendant’s conduct was a

 2   substantial factor in causing Plaintiff harm.

 3   104.   The above-recited actions were done by, authorized by, and/or ratified by directors,

 4   officers and/or managing agents of Defendants, who acted with malice, fraud, or oppression,

 5   and in reckless disregard of Plaintiff’s rights under the law. Specifically, Defendants knew that

 6   retaliation for making good faith complaints about a potential violation of workplace safety

 7   rules was illegal and in violation of Plaintiff’s rights under Labor Code sections 1102.5 and

 8   6310, but despite this knowledge, Defendants despicably, intentionally, and in conscious
 9   disregard of the law and Plaintiff’s rights, made their job more difficult ostracizing them,
10   refusing to communicate with them, treating them differently than other employees, creating a
11   toxic work environment that resulted in constructive discharge. Plaintiff’s efforts to not be
12   reassigned was also intentionally frustrated and obfuscated at the highest levels. For these
13   reasons, Plaintiff is entitled to recover exemplary and punitive damages and/or trebled damages
14   in an amount according to proof at trial.
15                             EIGHTH CAUSE OF ACTION
             RETALIATION IN VIOLATION OF LABOR CODE SECTION 6310
16                              [Cal. Lab. Code § 6310, et seq]
17                                     (All Defendants)

18   105.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

19   herein, to the extent such allegations are not inconsistent with this cause of action.

20   106.   Plaintiff engaged in numerous activities protected under California Labor Code Section
21   6310 including, but not limited to, making complaints of conduct and activity that they
22   reasonably and in good faith believed to be unlawful and in violation of workplace safety rules,
23   as alleged above.
24   107.   Defendants took adverse actions against Plaintiff in retaliation for their complaints of
25   unlawful conduct and activity by intentionally making their job more difficult, ostracizing them,
26   refusing to communicate with them, treating them differently than other employees, creating a
27   toxic work environment that resulted in constructive discharge.
28

     Plaintiff’s Complaint                                                                    -16-
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 1   108.   Defendants’ conduct would seriously affect the work performance of any reasonable

 2   employee and did affect Plaintiff’s work performance.

 3   109.   Defendants’ conduct would affect the psychological well-being of any reasonable
 4   employee and did affect Plaintiff’s psychological well-being.
 5
     110.   As a direct and proximate result, Plaintiff was harmed.
 6
     111.   Defendant’s conduct was a substantial factor in causing Plaintiff harm.
 7
     112.   The above-recited actions were done by, authorized by, and/or ratified by directors,
 8
     officers and/or managing agents of Defendants, who acted with malice, fraud, or oppression,
 9
     and in reckless disregard of Plaintiff’s rights under the law. Specifically, Defendants knew that
10
     retaliation for making good faith complaints about a potential violation of workplace safety
11
     rules was illegal and in violation of Plaintiff’s rights under Labor Code sections 1102.5 and
12
     6310, but despite this knowledge, Defendants despicably, intentionally, and in conscious
13
     disregard of the law and Plaintiff’s rights, made their job more difficult ostracizing them,
14
     refusing to communicate with them, treating them differently than other employees, creating a
15
     toxic work environment that resulted in constructive discharge. Plaintiff’s efforts to not be
16
     reassigned was intentionally frustrated and obfuscated at the highest levels. For these reasons,
17
     Plaintiff is entitled to recover exemplary and punitive damages and/or trebled damages in an
18
     amount according to proof at trial.
19

20                                    NINTH CAUSE OF ACTION
                       CALIFORNIA PRIVATE ATTORNEY GENERAL ACT
21                                    [Cal. Lab. Code § 2698, et seq]
      (By Plaintiff and Behalf of All Aggrieved Current/Former Employees Against All Defendants)
22

23   113.   Plaintiff incorporates by reference all preceding paragraphs as though fully set forth

24   herein, to the extent such allegations are not inconsistent with this cause of action.

25   114.   Cal. Lab. Code § 2698, et seq. (“PAGA”) permits Plaintiff to recover civil penalties for

26   the violation(s), of the Labor Code sections enumerated in Labor Code section 2699.5. Section

27   2699.5 enumerates Labor Code sections 201, 202, 203, 204, 226(a), 510, 1102.5, and 2802.

28   Labor Code section 2699.3(c) permits aggrieved employees, including Plaintiff, to recover civil

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 1   penalties for violations of those Labor Code sections not found in section 2699.5, including

 2   sections 226(f), 246, 1198.5, and 6400, et seq.

 3   115.   Pursuant to Cal. Lab. Code § 2699 (c), Plaintiff as an "aggrieved employee" may bring

 4   this action for recovery of civil penalties through a civil action on behalf of themself and other

 5   current or former employees of Defendants pursuant to the procedures specified in Cal. Lab.

 6   Code § 2699.3.

 7   116.   Defendants committed the following violations of the Cal. Lab. Code against Plaintiff

 8   and, on information and belief, against other current or former employees while they were
 9   employed by Defendants:

10      a. Violated Cal. Lab. Code §§ 201, 202, and 203 for failure to timely pay wages to Plaintiff

11          and other aggrieved employees all wages due on the date of the employee’s involuntary

12          termination or within 72 hours of receipt of notice of employee’s voluntary termination.

13      b. Violated Cal. Lab. Code § 204 by failing pay all wages due to Plaintiff and aggrieved

14          employees on a timely basis, in compliance with those provisions.

15      c. Violated Cal. Lab. Code §§ 226(a) and 226.3 by failing to provide accurate itemized

16          wage statements to Plaintiff and aggrieved employees.

17      d. Violated Cal. Lab. Code § 246 by failing to provide accurate paid sick leave notice to

18          Plaintiff and aggrieved employees by rounding down the hours accrued resulting in an

19          inaccurate reflection of accrued paid sick leave. This practice undercompensated

20          aggrieved employees.

21      e. Violated Cal. Lab. Code § 510 by failing to pay Plaintiff and aggrieved employees for

22          work over eight (8) hours in a workday and forty (40) hours in a workweek.

23      f. Violated Cal. Lab. Code § 1102.5 by retaliating against Plaintiff and other aggrieved

24          employees for reporting conduct Plaintiff reasonably and in good faith believed to be

25          unlawful, as alleged above.

26      g. Violated Cal. Lab. Code § 2802 in requiring Plaintiff and aggrieved employees to use

27          their personal cellular phones to phones to perform tasks before and after work time

28

     Plaintiff’s Complaint                                                                    -18-
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 1           commenced as well as during work time. Defendants also required Plaintiff and

 2           aggrieved employees to purchase equipment without reimbursement for job execution.

 3       h. Violated Cal. Lab. Code § 6400 by failing to provide a place of employment that is safe

 4           and healthful to the employees therein.

 5   117.    Plaintiff has satisfied all the requirements; set forth in Cal. Lab. Code § 2699.3, which are

 6   prerequisites to maintain a civil suit to recover the aforementioned penalties. Plaintiff, by and

 7   through their counsel, provided written notices on April 5, 2021, to the California Labor &

 8   Workforce Development Agency, RANDSTAD US LLC, stating the provisions of the Labor
 9   Code alleged to have been violated, including the facts and theories to support the alleged

10   violations. A true and correct copy of this letter is attached hereto, marked as Exhibit 1, and

11   incorporated by this reference herein. The California Labor & Workforce Development Agency

12   did not, within 65 days of April 5, 2021, pursuant to Cal. Lab. Code § 2699.3(a) notify Plaintiff

13   its intention to investigate the allegations in the April 5, 2021 letters.

14   118.    Accordingly Plaintiff is entitled to pursue the matter pursuant to Cal. Lab. Code § 2699,

15   and Defendants, are liable for civil penalties in amounts to be established at trial, payable as

16   provided in Cal. Lab. Code § 2699(i).

17   119.    Pursuant to Cal. Lab. Code § 2699 (g)(1), Plaintiff is also entitled to an award of

18   reasonable attorneys' fees and costs incurred in conjunction with claims brought pursuant to Cal.

19   Lab. Code § 2699 should they prevail on any of those claims.

20                                     DEMAND FOR JURY TRIAL
21
     120.    Plaintiff, individually, and on behalf of other aggrieved employees pursuant to PAGA,
22
     requests a trial by jury.
23

24                                                 PRAYER

25           WHEREFORE, Plaintiff, prays for relief and judgment against Defendants, jointly and

26   severally, as follows:

27       1. For economic damages including, but not limited to, past and future lost wages, benefits,

28   and earning capacity according to proof;

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       1       2. For non-economic damages including, but not limited to, past and future emotional
       2   distress, according to proof;

       3       3. For punitive damages according to proof;

       4       4. For injunctive relief in the form of an order requiring that Defendants undergo training

       5   on equal employment opportunities and workplace safety and to enact and enforce policies and

       6   procedures aimed at addressing unsafe working conditions;

       7       5. For restitution;

       8       6. For civil penalties as may be available under the law, including any penalty available

       9   under Labor Code §§1102.5, 6310, and/or 2699.

      10       7. For pre-judgment interest calculated from the date of termination;

      11       8. For costs and attorney's fees; and

      12       9. For equitable relief as the Court deems fair; and,

      13       10. For such other and further relief as the court deems just and proper in the circumstances

      14
           Dated: August 24, 2021
      15                                                                                        ........:..::::
                                                 ditAJNNE M. CALLAN, Esq.
      16                                         Attorney for Plaintiff

      17

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      28

           Plaintiff's Complaint                                                                       -20-

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                  EXHIBIT 1
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    Grainne Callan, Esq.


    [Via online Submission and Certified mail]                                                  April 5, 2021
    Attn. PAGA Administrator
    1515 Clay Street, Ste. 801
    Oakland, CA 94612

           Re: Randstad US LLC and DOES 1-50, inclusive

    Dear Representative:

            This office has been retained by Joshua Harrell to represent them against their former
    employer, Randstad US LLC (hereafter "Randstad"), and DOES 1-50, inclusive for violations of
    California's Labor Codes. Mx. Harrell intends to seek penalties for violations of the California
    Labor Code, which are recoverable under California Labor Code sections 2698 et seq., and the
    Labor Code Private Attorneys General Act of2004 ("PAGA"). Mx. Harrell seeks penalties on
    behalf of the State of California and other current and former aggrieved employees. This letter is
    sent in compliance with the reporting requirements of California Labor Code section 2699.3.

           Randstad's principal office street address is 3625 Cumberland Blvd, Suite 600, Atlanta,
    GA 30339 and its mailing address is 150 Presidential Way, 3rd Floor, Woburn, MA 01801.
    Randstad provides 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833 as its
    California's office address. According to the February 10, 2021, 1505 form filed on California's
    Secretary of State website, the agent for service of process is Corporation Service Company
    Which Will Do Business in California as CSC-Lawyers Incorporating Service located at 2710
    Gateway Oaks Drive, Suite ISON, Sacramento, CA 95833.

            Randstad employed Mx. Harrell from March through October 2020. As Randstad is an
    outsourcing and staffing agency, Mx. Harrell's rate of pay varied based on each workplace
    assignment.

           Randstad has violated and/or continues to violate, among other provisions of the
    California Labor Code and applicable wage law, California Labor Code sections: 201-204, 210,
    226,226.3, 226.6, 246, 510, 1102.5, 1198.5, 2802, 6300, 6306, 6308, 6400, 6401, 6401.7, 6402,
    and 6403.

            California Labor Code sections 201, 202 and 203 provide that if an employer discharges
    an employee, the wages earned and unpaid at the time of discharge are due and payable
    immediately, and that if an employee voluntarily leaves his or her employment, his or her wages
    shall become due and payable not later than seventy-two hours thereafter, unless the employee
    has given seventy-two hours previous notice of his or her intention to quit, in which case the
    employee is entitled to his or her wages at the time of quitting. Our client and other aggrieved
    employees were not paid all the wages they were owed upon discharge or resignation by




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Randstad. As discussed infra, there existed (and likely still exists) unpaid wages, overtime, meal,
and rest break violations that have gone without redress. Mx. Harrell's last date of employment
with Randstad was in October 2020. Randstad has yet to provide the entirety of their
compensation due to Mx. Harrell. Therefore, Mx. Harrell and other aggrieved employees are
entitled to their outstanding wages, as well as any waiting time penalties due.

        California Labor Code section 204 provides labor performed between the l" and 15th
days of any calendar month shall be paid between the I (5lh and the 26"1 day of the month during
which the labor was performed, and labor performed between the 16"1 and last day of any
calendar month, shall be paid for between the I" and 10th day of the following month. Mx.
Harrell and other aggrieved employees have not been paid in a timely manner at least one time
for the pay period of April 27 through May 3, 2020. Additionally, on July 16, 2020, Randstad
provided a wage statement for the pay period of June 15 -21, 2020. This pay period was paid
late and Randstad then processed an authorized deduction for the wages due to Mx. Harrell.
Therefore, Mx. Harrell and other aggrieved employees are entitled to full payment of their wages
and the penalties associated with the delay of receiving these wages.

        On May 8, 2020, Randstad issued Mx. Harrell and other similarly situated employees two
checks. One check was paid at an erroneous rate of pay. The second check included a corrected
adjusted pay rate, which in Mx. Harrell's case was $3.00 per hour. Randstad, however, applied
the $3. 00 per hour amount to both Mx. Harrell's regular hours worked and overtime hours
worked, without adjusting accordingly for the overtime hours worked. The overtime hours
worked should have been adjusted at Mx. Harrell's overtime rate of pay, which would be a rate
of $4.50. Randstad has yet to pay this outstanding amount to Mx. Harrell and other employees
where Randstad failed to correctly compensate overtime hours worked.

       California Labor Code section 210 provides additional penalties for failure to pay an
employee's wages with a $100 penalty for the initial violation and a $200 penalty plus 25% of
the amount unlawfully withheld for each subsequent violation. As demonstrated above,
Randstad failed to pay Mx. Harrell and other employees their full wages in a timely manner for
the pay period of May 8, 2020, Randstad is subject to 210 penalties.

        California Labor Code section 226 requires employers to make, keep, and provide
complete and accurate itemized wage statements to their employees. During the relevant time
period, Randstad failed to provide Mx. Harrell and other aggrieved employees with complete and
accurate itemized wage statements. The wage statements they received from Randstad were in
violation of California Labor Code section 226(a). The violations include, but are not limited to,
an incomplete address on the wage statements provided to employees, the failure to include the
correct hourly rate for at least one pay period, all overtime wages owed.

       Randstad's paystubs provided to Mx. Harrell lists its address as "3625 Cumberland Blvd.
Atlanta GA 30339." Randstad's correct address is 3625 Cumberland Blvd. Suite 600, Atlanta


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GA 30339. (emphasis added) Randstad has failed to provide a complete and accurate address on
its wage statements provided to employees.

       California Labor Code sections 226(b) and (c) require employers to provide the payroll
records to an employee within 21 days of receiving the request. Mx. Harrell provided their
request via certified mail on November 2, 2020. This request was delivered to Randstad on
November 4, 2020. Subsequent requests were made to Randstad without success until February
17, 2021, 1 OS days after Randstad initially received the request. Mx. Harrell and other
employees were subjected to this violation.

        California Labor Code section 226.3 provides: "Any employer who violates subdivision
(a) of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty dollars
($250) per employee per violation in an initial citation and one thousand dollars ($1,000) per
employee for each violation in a subsequent citation, for which the employer fails to provide the
employee a wage deduction statement or fails to keep the records required in subdivision (a) of
Section 226." Randstad violated subdivision (a) of section 226 for Mx. Harrell and other
aggrieved employees.

        California Labor Code section 226.6 provides: "Any employer who knowingly and
intentionally violates the provisions of Section 226, ... and who knowingly and intentionally
participates or aids in the violation of any provision of Section 226 is guilty of a misdemeanor
and, upon conviction thereof, shall be fined not more than one thousand dollars ($1,000) or be
imprisoned not to exceed one year, or both, at the discretion of the court."

        California Labor Code section 246 requires employers to provide paid sick leave notice
to its employees setting forth the amount of paid sick leave (hereafter "PSL") available for use
either on the employee's itemized wage statement or in a separate writing provided on the
designated pay date with the employee's payment of wages. Employees accrue paid sick days at
the rate of not less than one hour per every 30 hours worked. It appears Randstad rounded down
the amount of hours accrued by employees, resulting in an inaccurate reflection of paid sick days
accrued. Randstad' s rounding down practice of paid sick days consistently undercompensated
employees. Randstad's incorrect accrual can be seen on every wage statement provided.
Examples of this include: when Harrell had worked 45.4 hours Randstad shows 1 hour PSL
instead of 1.51 hours, when they worked 85.26 hours, Randstad shows 2 hours PSL instead of
2.84, when they worked 208.12 hours, Randstad shows 6 hours instead of 6.94.

        California Labor Code section 510 requires employers to provide overtime pay to
employees at the rate of time and a half for all hours worked in excess of 40 in a week or eight in
a day. As explained above, Randstad failed to properly compensate at a minimum of one time
during the pay period of April 27 through May 3, 2020. Randstad required Mx. Harrell and other
aggrieved employees to work overtime hours without receiving the proper overtime premiums as
required by section 510.



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         California Labor Code section 1102.5 prohibits employers from retaliating against an
employee for opposing any practices forbidden or made unlawful under the section. Mx. Harrell
informed Randstad about the illegal conduct taking place at the Corodata assigned work site.
Randstad retaliated against Mx. Harrell by terminating their employment at that worksite.
Randstad transferred Mx. Harrell to a lesser paying position with a farther commute and failed to
provide them their earned bonus. Mx. Harrell and other aggrieved employees who reported
illegal conduct were retaliated against for reporting the violations. Therefore, Mx. Harrell and
other aggrieved employees are entitled to statutory penalties associated with this violation.

       California Labor Code section l 198.5(c)(3)(A) require employers to provide its personnel
records to an employee within 31 days of receiving the request. Mx. Harrell provided their
request via certified mail on November 2, 2020. This request was delivered to Randstad on
November 4, 2020. Subsequent requests were made to Randstad without success until February
17, 2021, 105 days after Randstad initially received the request. Mx. Harrell and other
employees were subjected to this violation.

         California Labor Code section 2802 requires employers to indemnify employees for all
necessary expenditures or losses incurred by the employee in direct consequence of the discharge
of his or her duties or of his or her obedience to the directions of the employer. Randstad
required Mx. Harrell and other employees to use their cell phones to record and submit their
hours. Randstad required Mx. Harrell and other employees to purchase equipment to work at job
sites, including but not limited to safety equipment such as gloves and steel-toed shoes.
Randstad failed to indemnify Mx. Harrell and other aggrieved employees in accordance with this
section.

        California Labor Code sections 6300, 6400, and 6402 require employers to provide a
place of employment that is safe and healthful. Randstad has repeatedly placed its employees
into unsafe working environments and when an employee notifies Randstad of its violation
Randstad retaliates by terminating the position. On or about September 4, 2020, Mx. Harrell
reported to their Randstad representative Huy Nguyen unsafe working conditions at their
Randstad assigned work site location, Corodata. Several workers, including managers and office
staff, were not wearing face masks in shared places in violation of Governor Newsom' s June 18,
2020 order regarding face coverings. Mx. Nguyen's initial reaction was to direct Mx. Harrell to
speak with additional managers at the job site about Mx. Harrell's concerns. Later that same
day, Mx. Nguyen informed Mx. Harrell via a telephone call that their assignment at Cordata had
ended because Mx. Harrell was concerned about others not wearing masks. In further retaliation,
Mx. Harrell was denied an earned bonus for their performance in August 2020. Randstad
continued its retaliation and placed Mx. Harrell in lower paying jobs with a more extensive
commute. Randstad failed to provide Mx. Harrell and other aggrieved employees a safe place of
employment. Mx. Harrell and other employees were subjected to these violations.

       California Labor Code sections 6306, 6308, 6401, and 6403 require employers to provide
and use safety devices and safeguards, and adopt and use practices, means, methods, operations,

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and processes which are reasonably adequate to render such employment and place of
employment safe and healthful. In addition to the above described incident, Mx. Harrell
sustained an injury while on a different job. Mx. Harrell reported this incident to Mx. Nguyen
and requested gloves. Mx. Nguyen's response was to ask for a picture of the injury and inform
Mx. Harrell they do not have the budget for gloves. Mx. Nguyen said for Mx. Harrell to be
"extra careful next time." Mx. Harrell pointed out that the employer needs to provide proper
safety equipment Mx. Nguyen's response was to tell Mx. Harrell not to show up to work, that
work was cancelled. Randstad fails to provide the necessary safety equipment for its employees.
When an employee courageously notifies Randstad that it has an obligation to provide safety
devices, Randstad then terminates the employee from that particular job. Randstad then
continues to expose non-complaining employees to the unsafe work environments. Mx. Harrell
and other employees were subjected to these violations.

        California Labor Code section 6401.7 requires employers to implement and maintain an
effective written injury prevention program. Although Randstad appears to have a minimal
injury prevention program, it does not appear to be effective or maintained. The response from
Randstad regarding a reported injury is to be extra careful. Randstad includes wearing gloves as
part of its prevention program for cuts, yet will not provide the necessary safety equipment. Mx.
Harrell and other employees were subjected to this violation.

        Therefore, on behalf of all aggrieved employees, Mx. Harrell seeks all applicable
penalties related to these violations of the California Labor Code pursuant to PAGA. If you haVie
any questions or require any additional information, please do not hesitate to contact us. My
direct dial is (408) 982-6224 and my email address Grainne.Callan@callanlawoffice.com.
Thank for your attention to this matter.

                                         Sincerely,

                                          -b~ ---~~
                                         Grainne M. Callan, Esq.
                                         Attorney for Joshua Harrell

cc: Via U.S. Certified Mail
Attn: RANDSTADT US LLC
Attn: DOEs 1 - 50
2710 Gateway Oaks Drive, Suite 150N
Sacramento, CA 95833




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                  EXHIBIT 2
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• Grainne Callan, Esq.



 [Via USPS]                                                                                November 2, 2020
 Randstad US, LLC
 2099 Gateway Place #260
 San Jose CA 95110

                Re: Joshua Harrell, employee ID 00009909640, Employment File Request

 To Whom It May Concern:

 This firm represents Joshua Harrell concerning potential workplace claims Joshua has against Randstad US,
 LLC. Please do not contact my client directly. All future communications regarding this matter are to be
 addressed to:
                                             Grainne Callan, Esq.
                                         1030 E. El Camino Real #374
                                             Sunnyvale, CA 94086
                                                (408) 982-6224

 Employee File Regugt
 Pursuant to Labor Code Sec. 1198.5(c)(3)(A), within 30 days of your receiving this request, please provide
 the personnel records for Joshua Harrell.

 Pursuant to Labor Code Sec. 226(b), and within 21 days of your receiving this request, please provide the
 payroll records for Joshua Harrell required by Labor Code Sec. 226(a).

 Pursuant to Labor Code Sec. 432, which has no time limit, please provide copies of all documents which
 Joshua Harrell has signed related to Joshua's obtaining or holding their job with or any job they were
 assigned to on behalf of Randstad US, LLC.

 Enclosed is a signed Authorization for Release of Records, empowering this firm to receive these documents.
 Failure to return these records in the timely manner will result in statutory fines.

 Please feel free to contact me at any time.

                                         Sincerely,



                                         Grainne M. Callan, Esq.

 Copy to: Client
 Encl: Authorization for Release of Records




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Randstad US, LLC
2099 Gateway Place #260
San Jose CA 95110



               Re: Joshua Harrell Authorization for Release of Records




I, Joshua Harrell, employee ID 00009909640, hereby authorize Randstad US LLC to release the
entirety of my personnel file to Grainne Callan, Esq. as of the date below.

I was employed by Randstad US, LLC from March through October 2020.

Under Labor Code § 1198.5, an employee or their representative is entitled to review a copy of their
personnel records within 30 days of a formal request. Under Labor Code § 226, an employee is
entitled to review a copy of their payroll records within 21 days of such a request. Failure to produce
the records without a response will result in the filing of a complaint against your office with the
California Superior Court or Department of Labor Standards Enforcement (DLSE) that carries with it
a penalty.

A photocopy of this authorization is to be treated in the same manner as the original copy.




Signed: ~(Nov 2, 2020 09:48 PST)
               Joshua Harrell


               Nov 2, 2020
Date:
        ---------------
